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                        UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                    Case No. 06-cr-92-01/02-PB

Derrick Jennings and
Samuel Ogot


                                   O R D E R


     Defendant Derrick Jennings, through counsel, has moved to

continue the July 6, 2006 trial in the above case, citing the

need for additional time to complete discovery and prepare a

defense.     The government and co-defendant do not object to a

continuance of the trial date.

     Accordingly, in order to allow the parties additional time

to complete discovery and properly prepare for trial, the court

will continue the trial from July 6, 2006 to October 3, 2006.                 In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendants in a speedy

trial.
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      The June 27, 2006 final pretrial conference is continued

until September 19, 2006 at 3:15 p.m.

      SO ORDERED.



                                          /s/Paul Barbadoro
                                          Paul Barbadoro
                                          United States District Judge

June 26, 2006


cc:   Donald Kennedy, Esq.
      Michael Iacopino, Esq.
      Terry Ollila, Esq.
      United States Probation
      United States Marshal




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